At the oral argument following the order granting a rehearing it was stipulated by the parties hereto that all proceedings in the Land Department affecting the respective rights of the parties, as shown by the records of *Page 797 
that department, are correctly set forth in the record on appeal in Donley v. Van Horn (No. 3213), ante, p. 383, [193 P. 514], and that on the appeal in this case judicial notice might be taken of all the records of the Land Department so set forth in the record in the Van Horn appeal. [1] The effect of that stipulation is to show that, mutatis mutandis, the facts in this case are, in all substantial respects, the same as in the Van Horn case. For the reasons stated in the opinion this day filed in Donley v. Van Horn, the judgment is reversed.
A petition to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on November 24, 1920.
All the Justices concurred.